      Case 4:20-cv-05146-YGR Document 563 Filed 03/15/22 Page 1 of 10




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 8
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14
     Counsel for Plaintiffs; additional counsel listed
15   in signature blocks below
16                        UNITED STATES DISTRICT COURT
17               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

18
                                                         Case No. 4:20-cv-05146-YGR-SVK
19   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,       APPOINTMENT OF COMMISSIONERS
20                                                       UNDER THE HAGUE CONVENTION AND
            Plaintiffs,                                  REQUEST FOR JUDICIAL ASSISTANCE
21
                   v.
22                                                       Referral: Hon. Susan van Keulen, USMJ
     GOOGLE LLC,
23
            Defendant.
24

25

26

27

28
                                                                  Case No. 4:20-cv-05146-YGR-SVK
                                   APPOINTMENT OF COMMISSIONERS UNDER THE HAGUE CONVENTION
                                                         AND REQUEST FOR JUDICIAL ASSISTANCE
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 1          APPOINTMENT OF COMMISSIONERS UNDER THE HAGUE CONVENTION
     AND REQUEST FOR JUDICIAL ASSISTANCE – PERMISSION TO TAKE EVIDENCE
 2   BY A COMMISSIONER UNDER ARTICLE 17 HAGUE EVIDENCE CONVENTION 1970
           TO THE CANTONAL COURT OF ZÜRICH, COURT ADMINISTRATION,
 3
      INTERNATIONAL JUDICIAL ASSISTANCE, FOR THE REQUEST FOR JUDICIAL
 4     ASSISTANCE IN CIVIL MATTERS WITH COPY TO THE FEDERAL OFFICE OF
        JUSTICE (FOJ), CENTRAL AUTHORITY FOR THE REQUEST FOR JUDICIAL
 5               ASSISTANCE IN CIVIL AND COMMERCIAL MATTERS:
 6          The United States District Court for the Northern District of California, located at the San
 7 Jose Courthouse, Courtroom 6 – 4th Floor, 280 South 1st Street, San Jose, CA 95113, presents its

 8 compliments to the Federal Office of Justice and has the honor of requesting its assistance in

 9 obtaining evidence to be used in a civil proceeding now pending before this Court in the above-

10 captioned matter, specifically by permitting commissioners appointed by this Court to take evidence

11 under Article 17 of the Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in

12 Civil or Commercial Matters (“Hague Convention”).

13          It appears to this Court that Mr. Martin Sramek, whose professional address is: Erika-Mann-
14 Straße 33, 80636 München, Germany, is a witness in this action and therefore has evidence relevant

15 to this action. It is necessary for the purposes of justice and for the due determination of the matters

16 in question between the parties that Mr. Sramek be examined (remotely) at the Swiss offices of

17 Quinn Emanuel at Dufourstrasse 29, 8008 Zurich, Switzerland, under oath or affirmation. Given

18 that the deposition would take place (remotely) in the canton of Zurich, Switzerland, the competent

19 authority for the granting of this request is the High Court of the Canton of Zurich, International

20 Judicial Assistance, Hirschengraben 13/15, 8021 Zurich 1, Switzerland. As is customary, a copy of

21 the present Letter of Request is sent to the Federal Office of Justice, Central Authority for the

22 Request for Judicial Assistance in Civil and Commercial Matters, Bundesrain 20, 3003 Bern,

23 Switzerland.

24          This Court, therefore, respectfully requests your assistance pursuant to the Hague
25 Convention in obtaining the oral deposition testimony of Mr. Sramek under the terms set forth in

26 this Letter of Request:

27

28
                                                   -1-             Case No. 4:20-cv-05146-YGR-SVK
                                    APPOINTMENT OF COMMISSIONERS UNDER THE HAGUE CONVENTION
                                                          AND REQUEST FOR JUDICIAL ASSISTANCE
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 1 I.       SUMMARY OF ACTION

 2          1.      This action is properly under the jurisdiction of and is now pending before the United
 3
     States District Court for the Northern District of California, San Jose Courthouse, Courtroom 8 –
 4
     4th Floor, 280 South 1st Street, San Jose, CA 95113, United States of America. The United States
 5
     District Court for the Northern District of California is fully sanctioned as a court of law and equity
 6
     and is authorized by Rule 28(b) of the Federal Rules of Civil Procedure to direct the taking of
 7

 8 evidence abroad by Letters of Request.

 9          2.      The parties to the civil action pending in the United States District Court for the
10 Northern District of California are as follows:

11
            a.      The individual, named Plaintiffs on behalf of the class action are Patrick Calhoun,
12
                    Elaine Crespo, Claudia Kindler, Dr. Corinice Wilson, Dr. Rodney Johnson, and
13
                    Michael Henry (collectively, “Plaintiffs”).          Plaintiffs are represented by
14

15                  BLEICHMAR FONTI & AULD LLP, 555 12th Street, Suite 1600, Oakland, CA

16                  94607, USA; DiCELLO LEVITT GUTZLER LLC, 60 E. 42nd St., Suite 2400, New

17                  York, NY 10165, USA; and SIMMONS HANLY CONROY LLC, 112 Madison
18
                    Avenue, 7th Floor, New York, NY 10016, USA.
19
                    Correspondence to Plaintiffs can be faxed to Plaintiffs’ representatives at +1 (415)
20
                    445-4020, +1 (212) 213-5949          or emailed at the following email addresses:
21
                    lweaver@bfalaw.com,              aornelas@bfalaw.com,            jsamra@bfalaw.com,
22
                    dstraite@dicellolevitt.com, akeller@dicellolevitt.com, aprom@dicellolevitt.com,
23
                    atruong@simmonsfirm.com, and jaybarnes@simmonsfirm.com.
24
            b.      The Defendant is Google LLC (hereinafter, “Google”). Defendant Google is a
25
                    corporation organized and existing under the laws of the State of Delaware, with its
26
                    headquarters also in Delaware, USA. Witness Martin Sramek is an individual who is
27
                    employed by Google as a Software Engineer but is a resident of Munich, Germany.
28
                                                    -2-             Case No. 4:20-cv-05146-YGR-SVK
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 1                 Google is represented by QUINN EMANUEL URQUHART & SULLIVAN, LLP,

 2                 191 N. Wacker Drive, Suite 2700 Chicago, IL 60606, USA; 865 S. Figueroa Street,

 3                 10th Floor Los Angeles, CA 90017, USA; 51 Madison Avenue, 22nd Floor New

 4                 York, NY 10010, USA; 1300 I Street NW, Suite 900, Washington D.C., 20005,

 5                 USA; 50 California Street, 22nd Floor San Francisco, CA 94111, USA.

 6                 Correspondence to Google can be faxed to their representatives at +1 (312) 705-

 7                 7401, +1 (213) 443-3100, +1 (212) 849-7100, +1 (202) 538-8100, +1 (415) 875-6700

 8                 or emailed at the following email addresses: andrewschapiro@quinnemanuel.com,

 9                 sb@quinnemanuel.com,                            violatrebicka@quinnemanuel.com,

10                 jomairecrawford@quinnemanuel.com,                josefansorge@quinnemanuel.com,

11                 carlspilly@quinnemanuel.com, and jonathantse@quinnemanuel.com.

12          3.     This is a data privacy class action brought by and on behalf of Google Chrome users

13 who chose not to “Sync” their browsers with their Google accounts while browsing the web (“Un-

14
     Synched Chrome Users”) from July 27, 2016 to the present (the “Relevant Period”). FAC ¶ 1.
15
     Plaintiffs have sued Google for various causes of action including Violation of the California
16
     Invasion of Privacy Act (“CIPA”) Cal. Penal Code § 631, Intrusion Upon Seclusion, Breach of
17
     Contract, Breach of the Implied Covenant of Good Faith and Fair Dealing, Statutory Larceny Cal.
18

19 Penal Code §§ 484 and 496, and Violations of the California Unfair Competition Law (“UCL”) Cal.

20 Bus. & Prof. Code § 17200, et seq.

21          4.     Plaintiffs originally brought 16 claims: (1) unauthorized interception of electronic
22
     communications under the Wiretap Act; (2) unauthorized electronic communication service
23
     (“ECS”) disclosure under the Wiretap Act, 18 U.S.C. § 2510; (3) unauthorized access to stored ECS
24
     communications under the Stored Communications Act (“SCA”), 18 U.S.C. § 2701;
25

26 (4) unauthorized disclosures of stored communications under the SCA,18 U.S.C. § 2701;

27 (5) violation of the California Invasion of Privacy Act (“CIPA”), Cal. Penal Code § 631;

28 (6) invasion of privacy; (7) intrusion upon seclusion; (8) breach of contract; (9) breach of the
                                                  -3-                  Case No. 4:20-cv-05146-YGR-SVK
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 1 implied covenant of good faith and fair dealing; (10) quasi-contract (restitution and unjust

 2 enrichment); (11) violation of the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030(g);

 3
     (12) violation of the California Computer Data Access and Fraud Act, Cal. Penal Code § 502;
 4
     (13) statutory larceny, Cal. Penal Code §§ 484 and 496; (14) violation of the California Unfair
 5
     Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq.; (15) punitive damages under
 6
     Cal. Civil Code § 3294; and (16) declaratory relief under 28 U.S.C. § 2201(a). Id. ¶¶ 266–426.
 7

 8 Dkt. 142.

 9          5.      On September 18, 2020, the Court directed the parties to select 10 claims to litigate.
10 Dkt. 51. On September 25, 2020, the parties selected the following 10 claims: (1) unauthorized

11
     disclosure under the Wiretap Act; (2) unauthorized access under the SCA; (3) unauthorized
12
     disclosures of stored communications under the SCA; (4) violation of the CIPA; (5) intrusion upon
13
     seclusion; (6) breach of contract; (7) breach of the implied covenant of good faith and fair dealing;
14

15 (8) violation of the CFAA; (9) statutory larceny; and (10) violation of the UCL. Dkt. 54. Dkt. 142.

16          6.      Plaintiffs contend Google promises Chrome users that they “don’t need to provide

17 any personal information to use Chrome” and that “[t]he personal information that Chrome stores

18
     won’t be sent to Google unless you choose to store that data in your Google Account by turning on
19
     sync[.]” FAC ¶ 2. Plaintiffs allege that despite these express and binding promises, Google causes
20
     Chrome to record and send users’ personal information to Google regardless of whether a user elects
21
     to Sync or has a Google account. FAC ¶ 3.
22

23          7.      Plaintiffs maintain Google’s contract with Chrome users designates California law,

24 and consistent with California law, defines “Personal Information” as “information that you provide

25 to us which personally identifies you . . . or other data that can be reasonably linked to such

26
     information by Google, such as information we associate with your Google Account.” FAC ¶ 6.
27
     Plaintiffs allege examples of personal data improperly created and sent to Google by Chrome
28
                                                   -4-             Case No. 4:20-cv-05146-YGR-SVK
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 1 include: IP addresses linked to user agents; Unique, persistent cookie identifiers including the Client

 2 ID; Unique browser identifiers called X-Client Data Headers; and Browsing history. FAC ¶ 4.

 3
     Google believes all claims should be dismissed because Plaintiffs and the websites consented to
 4
     Google’s receipt of the data; Plaintiffs fail to state their claims; and Plaintiffs’ claims are barred by
 5
     the statutes of limitations.
 6
             8.      Google successfully moved to dismiss the following claims: Unauthorized disclosure
 7

 8 under the Wiretap Act, Unauthorized access under the Stored Communications Act (“SCA”),

 9 Unauthorized disclosure under the SCA, and Violation of Computer Fraud and Abuse Act

10 (“CFAA”) 18 U.S.C. §1030(g) on the grounds that Plaintiffs have not stated a claim for each of the

11
     aforementioned claims. See Dkt. 142.
12
             9.      Notices for the deposition of witnesses, including Mr. Martin Sramek, were served
13
     on or about March 2022. The parties have agreed to conduct a remote deposition of Mr. Sramek,
14

15 who will be located for such deposition in Switzerland, in accordance with Chapter II of the Hague

16 Convention.

17 II.       EVIDENCE REQUESTED
18
             10.     The parties have satisfied this Court that Mr. Martin Sramek has material information
19
     related to this pending action for use at trial, and that justice cannot be completely done between the
20
     parties without his testimony.
21
             11.     The parties requested that this Court issue the present Letter of Request seeking your
22

23 assistance in obtaining testimony from Mr. Martin Sramek. The evidence to be obtained is oral

24 testimony to be taken in Switzerland, and is intended to be used as evidence in the trial for this

25 matter. Mr. Sramek who is a resident of Munich, Germany has consented to voluntarily travel to

26
     Zurich, Switzerland for purposes of this deposition. He has been made aware that by being deposed
27
     in Switzerland he forgoes rights under German law related to the deposition but that he will have
28
                                                     -5-             Case No. 4:20-cv-05146-YGR-SVK
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 1 rights under Swiss law. He has been apprised of his rights under Swiss law and has consented to

 2 being deposed in Switzerland.

 3
            12.     The Court requests assistance in permitting the commissioners appointed by this
 4
     Court to take testimony from Mr. Sramek, which will be given voluntarily. The topics of
 5
     examination may include, but are not limited to:
 6
            a.      Mr. Sramek’s role and duties as an employee of Google.
 7

 8          b.      Knowledge of the sync function on the Chrome browser.

 9          c.      Knowledge of documents related to and produced in this matter.
10          13.     This Court is satisfied that the testamentary evidence is relevant to the pending
11
     proceeding and is likely to be used at trial to assist this Court in resolving the dispute presented in
12
     the civil action before it. With the approval of this Court, the parties and this Court therefore seek
13
     permission to have commissioners take this testamentary evidence for the purpose of using such
14

15 evidence at trial.

16          14.     It is requested that the testamentary evidence be given in the English language, and

17 on oath or affirmation. However, it is also requested that a German/English translator be allowed to

18
     be present and offer translation assistance, if necessary. It is also hereby requested that the testimony
19
     be in the form of a recorded remote deposition testimony via a secure session using
20
     videoconferencing technology upon questions communicated to the witness by U.S. counsel of the
21
     parties, acting as commissioners. It is requested that the testamentary evidence be given at some
22

23 time agreeable to all involved in March 2022, on or around March 24, 2022.

24          15.     The parties have agreed on and the Court hereby appoints Mr. Olivier Buff to serve

25 as commissioner (“the Swiss Commissioner”). Mr. Buff is a lawyer with the law firm Quinn

26
     Emanuel at Dufourstrasse 29, 8008 Zurich, Switzerland, and admitted to practice as an attorney in
27
     Switzerland. In his capacity as commissioner, Mr. Olivier Buff will complete and oversee the
28
                                                    -6-             Case No. 4:20-cv-05146-YGR-SVK
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 1 following tasks: liaise with the Swiss authorities, including dispatch/submission of the present Letter

 2 of Request to the High Court of the Canton of Zurich, International Judicial Assistance,

 3
     Hirschengraben 13/15, 8021 Zurich 1, Switzerland, and of a copy of the same to the Federal Office
 4
     of Justice, Central Authority for the Request for Judicial Assistance in Civil and Commercial
 5
     Matters, Bundesrain 20, 3003 Bern, Switzerland; act as an agent of service for any communication
 6
     of the High Court of the Canton of Zurich and/or the Federal Office of Justice to this Court, the
 7

 8 parties and Mr. Sramek; invite Mr. Sramek to the deposition once authorization is granted; verify

 9 and confirm the identity of Mr. Sramek before testamentary evidence is taken; supervise the

10 testimony of Mr. Sramek by remote videoconferencing software from the Swiss offices of Quinn

11
     Emanuel at Dufourstrasse 29, 8008 Zürich, Switzerland; instruct the witness on his rights and
12
     obligations as per Article 21 of the Hague Convention; and ensure that the testimony is conducted
13
     in accordance with those rights and obligations.
14

15          16.     The U.S. counsel of the parties, which the Court upon request of the parties hereby

16 also appoints as commissioners are the following:

17          a.      For Plaintiffs: Lesley E. Weaver, from BLEICHMAR FONTI & AULD LLP, 555
18
                    12th Street, Suite 1600, Oakland, CA 94607.
19
            b.      For Google: Jomaire A. Crawford, from QUINN EMANUEL URQUHART &
20
                    SULLIVAN, LLP at 51 Madison Avenue, 22nd Floor, New York, NY 10010, USA.
21
            17.     In addition to the U.S. counsel and commissioners listed above and of the Swiss
22

23 Commissioner, it is also requested that client representatives for each party be allowed to be present,

24 and that a videographer and a stenographer be present to take and record a verbatim transcript of all

25 testimony and proceedings in the English language and that the transcript of the testimony be

26
     authenticated. When necessary, persons belonging to the information technology departments of the
27
     law firms of U.S. counsel may enter the rooms where U.S. counsel are remotely attending the
28
                                                   -7-             Case No. 4:20-cv-05146-YGR-SVK
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 1 deposition. U.S. counsel, the party representatives, the videographer, and the stenographer may

 2 attend the deposition remotely. The Swiss Commissioner, Mr. Sramek and potentially any of the

 3
     appointed other commissioners will attend the deposition by videoconference from the same
 4
     location in Zurich. When necessary, a German/English translator will attend, from the same location
 5
     as Mr. Sramek or remotely. When necessary, persons belonging to the IT department of the Quinn
 6
     Emanuel law firm where the deposition is held may enter the room where Mr. Sramek is remotely
 7

 8 attending the deposition.

 9          18.     As mentioned, it is requested that the commissioners take Mr. Sramek’s testimony
10 in the English language (to which Mr. Sramek has agreed) under oath or affirmation, with potentially

11
     a German/English translator being present and offering translation assistance, and that the Swiss
12
     Commissioner be allowed to administer such oath or request for affirmation on Mr. Sramek in
13
     accordance with United States law, as follows: “Do you swear or affirm that the testimony you are
14

15 about to provide is the truth, the whole truth, and nothing but the truth?”

16          19.     It is also requested that after giving testimony, Mr. Sramek be allowed after

17 completion of the transcript to review, submit any errata, and sign the transcript of his testimony,

18
     and that the signed, transcribed, and videotaped testimony together with any documents marked as
19
     exhibits be transmitted to the parties’ U.S. counsel as soon as possible thereafter.
20
            20.     Accordingly, it is hereby requested that you grant assistance and authorize the Swiss
21
     and U.S. commissioners appointed above to question Mr. Sramek under oath or affirmation at the
22

23 remote deposition in March 2022, or at another time determined by you, and that a verbatim

24 transcript and videotape be prepared and be transmitted to the parties’ U.S. counsel for submission

25 and use before this Court.

26
            21.     It is also requested that you inform the Swiss Commissioner, this Court, and the
27
     parties through their above-mentioned U.S. counsel of your approval of this Court’s request and of
28
                                                   -8-             Case No. 4:20-cv-05146-YGR-SVK
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 1 all relevant dates and times determined by you for the production of the aforementioned requested

 2 testamentary evidence of Mr. Sramek. This Court and U.S. counsel hereby appoint Mr. Olivier Buff

 3
     to file the necessary application for authorization with you and act as the agent of service in
 4
     Switzerland for any and all communication from you in this respect. As mentioned above,
 5
     Mr. Olivier Buff’s professional address in Switzerland for purpose of your communications is:
 6
     Dufourstrasse 29, 8008 Zurich, Switzerland.
 7

 8          22.      This Court expresses its appreciation to the High Court of the Canton of Zurich and

 9 the Federal Office of Justice for its courtesy and assistance in this matter and states that this Court

10 shall be ready and willing to assist the courts of Switzerland in a similar manner when required.

11
     This Court is also willing to reimburse (through the Parties) the competent judicial authorities of
12
     Switzerland for any costs incurred in executing this request for judicial assistance. This Court
13
     extends to the competent judicial authorities of Switzerland the assurances of its highest
14

15 consideration.

16          This Letter of Request is signed and sealed by Order of the Court made on the date set forth

17          below:
18

19
            SO ORDERED.
20

21                March 15, 2022
      DATED:
22                                                      HON. SUSAN VAN KEULEN
                                                        United States Magistrate Judge
23

24

25

26

27

28
                                                   -9-             Case No. 4:20-cv-05146-YGR-SVK
                                    APPOINTMENT OF COMMISSIONERS UNDER THE HAGUE CONVENTION
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